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 2                                     UNITED STATES DISTRICT COURT
 3                                         DISTRICT OF NEVADA
 4                                                     ***
 5

 6   UNITED STATES OF AMERICA,
 7                        Plaintiff,                      2:13-cr-00184-KJD-VCF
 8   vs.                                                  ORDER
     SEAGRAM JOSHUA MILLER and RAY                        [(1) Plaintiff’s Motion to Sever (#27),
 9
     DARNELL WEBB,                                        (2) Plaintiff’s Motion for Speedy Trial (#28),
10
                                                          Government’s (3) Motion to Strike Defendant’s
                          Defendants.                     Pro Se Motion to Sever (#29), and (4) Motion to
11                                                        Strike Defendant’s Pro Se Motion for Speedy Trial
                                                          (#30)]
12

13          Before the Court are (1) Plaintiff’s Motion to Sever (#27), (2) Plaintiff’s Motion for Speedy Trial

14   (#28), Government’s (3) Motion to Strike Defendant’s Pro Se Motion to Sever (#29), and (4) Motion to

15   Strike Defendant’s Pro Se Motion for Speedy Trial (#30).

16          A. Background

17          Defendant made his initial appearance and arraignment and plea on May 29, 2013 and CJA panel

18   attorney was appointed as counsel of record. (#’s 13 & 15). Defendant was detained and remanded to

19   custody. Defendant pleaded not guilty to Counts 1 to 6. Id. Jury trial was scheduled for August 5,

20   2013. Id.

21          B. Motions

22          On June 26, 2013, Defendant filed two motions on his own behalf. (#’s 27 & 28). On July 1,

23   2013, the Government filed the Motion to Strike Defendant’s Pro Se Motion to Sever (#29) and Motion

24   to Strike Defendant’s Pro Se Motion for Speedy Trial (#30). The Government states that Defendant

25   Webb is currently represented by CJA panel attorney, James Hartsell, Esq. Id.
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 1          C. Discussion

 2          Pursuant to Local Rule IA 10-6(a), “[a] party who has appeared by attorney cannot while so

 3   represented appear or act in the case. An attorney who has appeared for a party shall be recognized by

 4   the Court and all the parties as having control of the client’s case.” On this Court’s docket, Mr. Hartsell

 5   is currently Defendant Webb’s counsel and has not filed a motion to withdraw as counsel, Defendant

 6   may not file motions on his own behalf. See Local Rule IA 10-6(a). The motions filed by Defendant as

 7   stated above are deemed improper and stricken.

 8          Accordingly,

 9          IT IS ORDERED that the Government’s (1) Motion to Strike Defendant’s Pro Se Motion to

10   Sever (#29), and (2) Motion to Strike Defendant’s Pro Se Motion for Speedy Trial (#30) are

11   GRANTED.

12          IT IS FURTHER ORDERED that Defendant’s Motions (#’s 27 & 28) are hereby STRICKEN.

13          DATED this 18th day of July, 2013.
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14                                                                CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
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